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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA

                       Case No. 18-21365-Civ-WILLIAMS/TORRES


   ST. LOUIS CONDOMINIUM
   ASSOCIATION, INC.,

         Plaintiff,

   v.

   ROCKHILL INSURANCE COMPANY,

         Defendant.

   ___________________________________________/

         ORDER ON PLAINTIFF’S OMNIBUS MOTION FOR SANCTIONS

         This matter is before the Court on St. Louis Condominium Association, Inc’s

   (“Plaintiff”) omnibus motion for sanctions against Rockhill Insurance Company

   (“Defendant”). [D.E. 131]. Defendant responded to Plaintiff’s motion on January

   18, 2019 [D.E. 152] to which Plaintiff replied on January 25, 2019. [D.E. 157].

   Therefore, Plaintiff’s motion is now ripe for disposition. After careful review of the

   motion, response, reply, relevant authority, and for the reasons discussed below,

   Plaintiff’s motion is DENIED.

                       I. APPLICABLE PRINCIPLES AND LAW

         A district court has broad authority under Rule 37 to control discovery.

   Federal Rule of Civil Procedure 37(b) authorizes the court to impose such sanctions

   “as are just” against a party that violates an order compelling discovery. Fed. R.

   Civ. P. 37(b)(2). The Rule includes a list of possible sanctions:


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          (i)     directing that the matters embraced in the order or other
                  designated facts be taken as established for purposes of the
                  action, as the prevailing party claims;
          (ii)    prohibiting the disobedient party from supporting or opposing
                  designated claims or defenses, or from introducing designated
                  matters in evidence;
          (iii)   striking pleadings in whole or in part;
          (iv)    staying further proceedings until the order is obeyed;
          (v)     dismissing the action or proceeding in whole or in part;
          (vi)    rendering a default judgment against the disobedient party; or
          (vii)   treating as contempt of court the failure to obey any order except
                  an order to submit to a physical or mental examination.

   Fed. R. Civ. P. 37(b)(2)(A).

          In addition, Rule 37(d)(1) provides that the “court where the action is pending

   may, on motion, order sanctions if: (i) a party . . . fails, after being served with

   proper notice, to appear for . . . deposition.” Fed. R. Civ. P. 37(d)(1)(A). Sanctions

   for failure to appear at a duly noticed deposition “may include any of the orders

   listed in Rule 37(b)(2)(A)(i)—(vi).” Fed. R. Civ. P. 37(d)(3).       “Instead of or in

   addition to [such a sanction], the court must order the disobedient party, the

   attorney advising that party, or both to pay the reasonable expenses, including

   attorney’s fees, caused by the failure, unless the failure was substantially justified

   or other circumstances make an award of expenses unjust.” Fed. R. Civ. P.

   37(b)(2)(c); see also Fed. R. Civ. P. 37(d)(3).

          “Rule 37 sanctions are imposed not only to prevent unfair prejudice to the

   litigants but also to insure the integrity of the discovery process.” Aztec Steel Co. v.

   Fla. Steel Corp., 691 F.2d 480, 482 (11th Cir. 1982).           A   district court has

   substantial discretion in deciding whether and how to impose sanctions under Rule



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   37. See Chudasama v. Mazda Motor Corp., 123 F.3d 1353, 1366 (11th Cir. 1997).

   And a district court is authorized to dismiss a case for failure to prosecute or failure

   to comply with a court order or the federal rules. See Fed. R. Civ. P. 41(b); Gratton

   v. Great Am. Commc’ns, 178 F.3d 1373, 1374 (11th Cir. 1999).                 Dismissal

   under Rule 41(b) is appropriate where “there is a ‘clear record of delay or willful

   contempt and a finding that lesser sanctions would not suffice.’” Goforth v. Owens,

   766 F.2d 1533, 1535 (11th Cir. 1985) (quotation and citation omitted).

                                      II. ANALYSIS

         Plaintiff’s motion raises twenty-one reasons1 as to why Defendant should be

   sanctioned in this case, including Defendant’s violations of various Court Orders to

   Defendant’s failure to produce responsive documents.           Plaintiff suggests that

   discovery has been irretrievably broken in this case and that Plaintiff’s ability to

   prepare for trial has been destroyed. Because no other remedy will cure the harm

   and prejudice that Plaintiff has suffered, Plaintiff requests that the Court strike

   Defendant’s pleadings and enter default judgment as to liability.

         Plaintiff’s first argument is that Defendant should be sanctioned because

   Defendant has willfully obstructed Plaintiff’s ability to obtain discovery. Plaintiff

   argues, for example, that on July 26, 2018, Defendant served its objections to the

   deposition of Stephan Pesak (“Mr. Pesak”).       Plaintiff claims that the objections

   violated the Court’s Order on Discovery Procedures, the Local Rules, and Federal


   1      While Plaintiff raises twenty-one reasons in support of its motion, Plaintiff
   boils these issues down into five specific arguments. Therefore, we consider these
   arguments as encapsulating all the reasons as to why Defendant should be
   sanctioned.

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   Rule 45(e)(2)(A) because the objections were boilerplate and conclusory. Plaintiff

   also asserts that, on August 3, 2018, Defendant sent a letter to Mr. Pesak

   instructing him to not bring any records to a deposition in violation of a subpoena.

   After the Court enforced the subpoena and the deposition of Mr. Pesak was re-

   noticed on November 16, 2018, Plaintiff alleges that Defendant served the same

   boilerplate objections and produced documents on the eve of the deposition that

   were available as of August 17, 2018. Because Defendant stonewalled Plaintiff’s

   ability to timely review these items in preparation for Mr. Pesak’s deposition,

   Plaintiff concludes that Defendant’s conduct is the epitome of gamesmanship and

   should be sanctioned accordingly.

         Plaintiff’s second argument is that Defendant blindsided Plaintiff when it

   failed to timely produce 1,500 pages of its privilege log in advance of Mr. Pesak’s

   deposition. Plaintiff claims that it discovered Defendant’s failure when the bates

   numbers on Defendant’s documents jumped over a thousand pages with no

   explanation. Plaintiff insists that it had no choice but to cancel the deposition to

   preserve the time allotted under the Federal Rules and that Plaintiff was prejudiced

   in wasting time in preparation for a deposition that did not take place. Because

   Defendant’s bad faith practices prevented Plaintiff’s ability to conduct discovery,

   Plaintiff believes that sanctions are necessary.

         Plaintiff’s third argument is that Defendant’s flagrant disregard for the

   Court’s Orders is unacceptable and warrants a severe penalty. Plaintiff argues, for

   example, that the Court ordered Defendant to supplement all discovery on October



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   12, 2018 but that Defendant failed to comply.          Plaintiff also maintains that

   Defendant’s service of a nineteen-page privilege log is an example of bad faith

   behavior because it did not comply with the Court’s directions and impeded the

   Court’s review of an in-camera inspection. For these reasons, Plaintiff concludes

   that this provides another reason to sanction Defendant.

         Plaintiff’s final arguments are that discovery is broken and Defendant is

   untrustworthy. More specifically, Plaintiff alleges that Defendant has stonewalled

   the production of documents and failed to meet its obligations under the Federal

   Rules. Plaintiff suggests, for example, that Defendant has cherry picked records,

   failed to supplement the service of responsive documents, intentionally withheld

   damaging items, and engaged in a repeated pattern of contemptuous behavior.

   Therefore, Plaintiff contends that sanctions are necessary because Defendant’s

   disobedience is willful and deliberate.

         We agree with Plaintiff that this case contains an abundance of discovery

   issues. We do not agree, however, that Defendant should be sanctioned because

   many – if not all – of the disputes identified above were the creation of both parties.

   This means that, to the extent sanctions should be considered, sanctions would be

   applicable to both parties – not only Defendant. If the parties had cooperated from

   the beginning of this case, there would have been no need for an omnibus motion for

   sanctions or seven other independent motions for sanctions.               Indeed, the

   undersigned has rarely encountered two parties who are more inclined to file

   motions for sanctions than to confer, find solutions to discovery conflicts, and seek



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   judicial relief when appropriate. Because both parties are at fault for the discovery

   issues in this case and neither has complied with the Federal or Local Rules,

   Plaintiff’s omnibus motion for sanctions is DENIED.

                                  III. CONCLUSION

         For the foregoing reasons, Plaintiff’s omnibus motion for sanctions [D.E. 131]

   is DENIED.

         DONE AND ORDERED in Chambers at Miami, Florida, this 11th day of

   March, 2019.

                                                /s/ Edwin G. Torres
                                                EDWIN G. TORRES
                                                United States Magistrate Judge




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